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 8
                         UNITED STATES DISTRICT COURT
 9
                      SOUTHERN DISTRICT OF CALIFORNIA
10
      LAURA WILLIS-ALBRIGO and                Case No. 24-cv-1416-GPC-SBC
11    ASHLEY WRIGHT, individually,
12    and on behalf of all others similarly   FIRST AMENDED CLASS ACTION
      situated,                               COMPLAINT
13
                   Plaintiffs
14
            v.                                JURY TRIAL DEMANDED
15
      THE PROCTER & GAMBLE
16    COMPANY
17                 Defendant.
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                                 CLASS ACTION COMPLAINT
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                       1           Plaintiff Ashley Wright (“Plaintiff”) brings this action against Defendant
                       2   The Procter & Gamble Company (“Defendant”), individually and on behalf of all
                       3   others similarly situated, and alleges upon personal knowledge as to Plaintiff’s acts
                       4   and experiences, and, as to all other matters, upon information and belief,
                       5   including investigation conducted by Plaintiff’s attorneys.
                       6                                NATURE OF THE ACTION
                       7           1.    Defendant sells a line of “Tampax Pearl” Tampons (the “Tampons”).1
                       8   The problem is the Tampons contain lead which is a known health hazard that
                       9   poses a health threat.
                      10           2.    There are no “safe” levels of lead. The World Health Organization
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                      11   (“WHO”) states: “There is no level of exposure to lead that is known to be
                      12   without harmful effects.”2
                      13           3.    The U.S. Centers for Disease Control and Prevention (“CDC”) states:
                      14   “There are no safe levels of lead in the blood.”3
                      15           4.    The U.S. Food & Drug Administration (“FDA”) states “there is no
                      16   known safe level of exposure to lead …”4
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                           1
                               See https://tampax.com/en-us/all-products/pearl/

                      23
                           2
                             World Health Organization, Lead Poisoning (Aug. 11, 2023), available at
                           https://www.who.int/news-room/fact-sheets/detail/lead-poisoning-and-health
                      24   (emphasis orignial)

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                           3
                            .S. Centers for Disease Control and Prevention, About Childhood Lead Poisoning
                           Prevention (May 23, 2024) available at https://www.cdc.gov/lead-
                      26   prevention/about/index.html

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                           4
                             .S. Food & Drug Administration, Lead in Food and Foodwares (July 25, 2024)
                           available at https://www.fda.gov/food/environmental-contaminants-food/lead-
                      28   food-and-foodwares
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                       1          5.    Lead affects numerous organs and systems in the body and
                       2   accumulates over time. This leads to health risks and toxicity, including hindering
                       3   neurological function, anemia, and kidney damage.5
                       4          6.    Defendant makes the following representations on the labels of the
                       5   Tampons:
                       6       • “All Day Comfort and Protection”
                       7       • “EVERYDAY COMFORT FOR TO 8HRS OF OUT OF SIGHT, OUT OF
                       8          MIND PROTECTION”
                       9       • “#1 GYNECOLOGIST RECOMMENDED TAMPON BRAND”
                      10       • “FREE OF PERFUME”
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                      11       • “FREE OF ELEMENTAL CHLORINE BLEACHING”
                      12       • “TAMPON FREE OF DYES”
                      13       • “CLINICALLY TESTED GENTLE TO SKIN”
                      14       • “Our best pearl protection ever”
                      15   (collectively, “the Representations”).
                      16          7.    The Net effect, or net impression, of the Representations is that
                      17   theTampons are safe to use and will provide “protection.” However, the
                      18   Representations are false and misleading because the Tampons contain unsafe
                      19   levels of lead.
                      20          8.    The labels for one of the Tampons are shown below.
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                      27   5
                            Wani AL, et al., Lead toxicity: a review, INTERDISCIP TOXICOL. (June 2015),
                      28   available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4961898
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                       1             9.    “Exposure to lead and lead chemicals can occur through inhalation,
                       2   ingestion, dermal absorption, absorption from retained or embedded leaded
                       3   foreign body, and trans-placental (endogenous) routes.”6
                       4             10.   The Tampons are absorbent cylinders made of cotton/rayon that are
                       5   inserted into the vagina to absorb menstrual blood. The vagina absorbs chemicals
                       6   more easily than other parts of the body, and there is no safe level for lead.7
                       7   Chronic metal absorption has been linked to an increased risk of cancer, infertility,
                       8   dementia, and other health issues.8
                       9             11.   Independent testing of the tampons performing a quantitative analysis
                      10   of Lead, Lead, Arsenic, and Mercury by Inductively Couple Plasma Mass
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                      11   Spectrometry utilizing EPA 3052 (ICPMS-QNT-EL-HM) found that the Tampons
                      12   contained 0.206 ug/g of lead:
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                      22   6
                            U.S. Department of Health & Human Services, Agency for Toxic Substances
                      23   and Disease Registry, What Are Routes of Exposure to Lead? (May 24,2023)
                           available at https://www.atsdr.cdc.gov/csem/leadtoxicity/exposure_routes.html
                      24
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                           7
                             University of California, Berkeley, Public Health, First study to measure toxic
                           metals in tampons shows arsenic and lead, among other contaminants (July 3,
                      26   2024) available at https://publichealth.berkeley.edu/news-media/research-
                           highlights/first-study-to-measure-toxic-metals-in-tampons-shows-arsenic-and-
                      27   lead
                           8
                      28       Id.
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                                                 FIRST AMENDED CLASS ACTION COMPLAINT
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                       1           12.   The ICP-MS-QNT-EL-HM (Inductively Coupled Plasma Mass
                       2   Spectrometry – Quantitative, Elemental Analysis, High Matrix) method is
                       3   designed for the accurate determination of metals, including lead, in various types
                       4   of samples. It is recognized for its high sensitivity and precision in measuring trace
                       5   levels of metals, including lead.
                       6           13.   The “HM” means the test method is tailored to handle high matrix
                       7   samples. It is designed to analyze complex or concentrated sample matrices with
                       8   accuracy. The “QNT” designation indicates that the method is focused on
                       9   quantitative analysis. It is designed to provide precise and reliable concentration
                      10   measurements of lead. The “EL” stands for elemental analysis, affirming that the
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                      11   method is specifically designed for determining the concentration of elements like
                      12   lead.
                      13                               JURISDICTION AND VENUE
                      14           14.   This Court has original jurisdiction over this action pursuant to 28
                      15   U.S.C. § 1332(d) because this is a class action in which: (1) there are over 100
                      16   members in the proposed class; (2) members of the proposed class have a different
                      17   citizenship from Defendant; and (3) the claims of the proposed class members
                      18   exceed $5,000,000 in the aggregate, exclusive of interest and costs.
                      19           15.   This Court has personal jurisdiction over Defendant because
                      20   Defendant conducts and transacts business in the State of California, contracts to
                      21   supply goods within the State of California, and supplies goods within the State of
                      22   California. Defendant, on its own and through its agents, is responsible for the
                      23   formulation, ingredients, manufacturing, labeling, marketing, and sale of the
                      24   Tampons in California, specifically in this district. The marketing of the Tampons,
                      25   including the decision of what to include and not include on the labels, emanates
                      26   from Defendant. Thus, Defendant has intentionally availed itself of the markets
                      27   within California through its advertising, marketing, and sale of the Tampons to
                      28   consumers in California, including Plaintiff. The Court also has specific
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                                               FIRST AMENDED CLASS ACTION COMPLAINT
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                       1   jurisdiction over Defendant as it has purposefully directed activities towards the
                       2   forum state, Plaintiff’s claims arise out of those activities, and it reasonable for
                       3   Defendant to defend this lawsuit because it has sold harmful Tampons to Plaintiff
                       4   and members of the Class in California. By distributing and selling the Tampons
                       5   in California, Defendant has intentionally expressly aimed conduct at California
                       6   which caused harm to Plaintiff and the Class which Defendant knows is likely to
                       7   be suffered by Californians.
                       8         16.    Venue is proper in this District pursuant to 28 U.S.C. §1391(b)
                       9   because Defendant engages in continuous and systematic business activities within
                      10   the State of California. Venue is also proper in this District pursuant to Cal. Civ
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                      11   Code. § 1780(c) because Defendant is doing business in this District.
                      12                                          PARTIES
                      13         17.    Defendant The Procter & Gamble Company is an Ohio corporation
                      14   that maintains its principal place of business in Cincinnati, Ohio.
                      15         18.    Plaintiff is a resident of California. Plaintiff purchased Tampax Pearl
                      16   Products during the class period at retail stores in California. Plaintiff relied on the
                      17   Representations on the Tampon’s packaging.
                      18         19.    Plaintiff was not aware of the Tampons contained lead. After reading
                      19   the label, Plaintiff purchased the Tampons on the assumption that the labeling was
                      20   accurate, and that the Tampons did not contain known harmful substances like
                      21   lead. Plaintiff would not have purchased the Tampons had she known the Tampons
                      22   contain lead, a substance which is known to be hazardous to human health. As a
                      23   result, Plaintiff suffered in fact when she spent money to purchase the Tampons
                      24   she would not have purchased absent Defendant’s misconduct.
                      25         20.    Plaintiff continues to see the Tampons for sale at retail stores near her
                      26   home and desires to purchase the Tampons again if the Tampons did not contain
                      27   lead. However, as a result of Defendant’s ongoing misrepresentations and material
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                                                FIRST AMENDED CLASS ACTION COMPLAINT
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                       1   omissions, Plaintiff is unable to rely on the Tampons’ labeling when deciding in
                       2   the future whether to purchase the Tampons.
                       3         21.     Plaintiff did not notice any disclaimer, qualifier, or other explanatory
                       4   statement or information on the Tampons’ labeling or packaging that disclosed
                       5   that the Tampons contained lead. At the time of Plaintiff’s purchases, she did not
                       6   know the Tampons contained lead.
                       7               REASONABLE CONSUMERS ARE DECEIVED BY DEFENDANT’S
                       8                         MISREPRESENTATIONS AND OMISSIONS
                       9         22.     Consumers, like Plaintiff, relied on the Representations set forth
                      10   above. The net-effect or net-impression of the Tampons’ labeling on consumers is
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                      11   that the Tampons do not contain harmful ingredients like lead.
                      12         23.     Consumers, like Plaintiff, want to know if a Tampon they place inside
                      13   their body contains substances which are hazardous to their health. Defendant’s
                      14   nondisclosure of the lead in the Tampons is material because reasonable
                      15   consumers would deem the presence of lead in the Tampons to be important in
                      16   determining whether to purchase the Tampons.
                      17         24.     Defendant has exclusive knowledge that the Tampons contain lead.
                      18   The fact that Defendant’s Tampons contain lead is not reasonably accessible to
                      19   Plaintiff and consumers. Consumers, like Plaintiff, trust that Tampons they
                      20   purchase do not contain toxic heavy metals like lead.
                      21         25.     Defendant has a duty to disclose the presence of lead in the Tampons
                      22   because the fact is known to Defendant (that the Tampons contain lead), and the
                      23   failure to disclose the lead in the Tampons is misleading.
                      24         26.     The lead in the Tampons implicates a health concern that is important
                      25   to reasonable consumers when deciding to purchase Defendant’s Tampons.
                      26   Defendant has actively concealed the levels of lead in the Tampons from Plaintiff
                      27   and putative class members.
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                                                FIRST AMENDED CLASS ACTION COMPLAINT
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                       1         27.    A failure to disclose a fact constitutes actionable conduct if the
                       2   omission goes to the central function of the Tampon. Here, the Tampons’ central
                       3   function is for people to safely use the Tampons. Lead-tainted Tampons do not
                       4   serve their central function.
                       5         28.    Reasonable consumers, like Plaintiff, would deem it important in
                       6   determining whether to purchase the Tampons because Plaintiff would not have
                       7   purchased the Tampons had she known that harmful elements like lead were in the
                       8   Tampons. That is, the omission of the lead content of the Tampons was material
                       9   because a reasonable consumer would deem it important in determining how to act
                      10   in the transaction at issue.
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                      11         29.    A failure to disclose a fact constitutes actionable conduct if the
                      12   omission causes an unreasonable safety hazard. Here, it is not reasonable to sell a
                      13   Tampon that consumers put inside their body with substantial levels of lead. As
                      14   explained above, lead is a safety hazard because it causes several negative health
                      15   effects in humans.
                      16         30.    Defendant also made partial representations that the Tampons are
                      17   safe, including that the Tampons provide “Protection,” which create the net-
                      18   impression that the Tampons did not contain potentially harmful ingredients like
                      19   lead. These partial disclosures are misleading because the lead content of the
                      20   Tampons was not disclosed.
                      21           PLAINTIFF AND THE PUTATIVE CLASS MEMBERS SUFFERED ECONOMIC
                      22                                           INJURY
                      23         31.    Plaintiff and putative class members suffered economic injury as a
                      24   result of Defendant’s actions. Plaintiff and putative class members spent money
                      25   that, absent Defendant’s actions, they would not have spent. With the other
                      26   Tampons on the market without lead, a reasonable consumer would choose to
                      27   purchase a Tampon without lead and not Defendant’s Tampons.
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                                                FIRST AMENDED CLASS ACTION COMPLAINT
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                       1         32.    Plaintiff and putative class members are entitled to damages and
                       2   restitution for the purchase price of the Tampons that were defective, not
                       3   merchantable, and not fit for their represented purpose.
                       4         33.    Consumers, including Plaintiff, would not have purchased
                       5   Defendant’s Tampons if they had known the Tampons contain lead, a substance
                       6   which has known adverse health effects on humans. Defendant did not disclose
                       7   that the Tampons contain lead.
                       8         34.    Accordingly, Plaintiff brings this action individually and on behalf of
                       9   other similarly situated consumers to halt the dissemination of Defendant’s
                      10   deceptive advertising message, correct the deceptive perception it has created in
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                      11   the minds of consumers, and obtain redress for those who have purchased the
                      12   Tampons. As a consequence of Defendant’s deceptive labeling and material
                      13   omissions, Plaintiff alleges Defendant has violated and is violating California’s
                      14   Consumers Legal Remedies Act, Cal. Civ. Code § 1750 et seq. (the “CLRA”),
                      15   California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq. (the
                      16   “UCL”) and constitutes a breach of implied warranties.
                      17                           NO ADEQUATE REMEDY AT LAW
                      18         35.    Plaintiff and members of the class are entitled to equitable relief as
                      19   no adequate remedy at law exists. The statutes of limitations for the causes of
                      20   action pled herein vary. Class members who purchased the Tampons more than
                      21   three years prior to the filing of the complaint will be barred from recovery if
                      22   equitable relief were not permitted under the UCL.
                      23         36.    The scope of actionable misconduct under the unfair prong of the
                      24   UCL is broader than the other causes of action asserted herein. It includes
                      25   Defendant’s overall unfair marketing scheme to promote and brand the Tampons,
                      26   across a multitude of media platforms, including the Tampon labels and
                      27   packaging, over a long period of time, in order to gain an unfair advantage over
                      28   competitor Tampons.
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                                              FIRST AMENDED CLASS ACTION COMPLAINT
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                       1         37.    Plaintiff and class members may also be entitled to restitution under
                       2   the UCL, while not entitled to damages under other causes of action asserted herein
                       3   (e.g., the CLRA is limited to certain types of plaintiffs (an individual who seeks or
                       4   acquires, by purchase or lease, any goods or services for personal, family, or
                       5   household purposes) and other statutorily enumerated conduct).
                       6         38.    The UCL also creates a cause of action for violations of law (such as
                       7   statutory or regulatory requirements and court orders related to similar
                       8   representations and omissions made on the type of products at issue). This is
                       9   especially important here because Plaintiff alleges Defendant has committed
                      10   “unlawful” acts and brings a claim for violation of the UCL’s “unlawful prong.”
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                      11   Specifically, Defendant has violated California’s Safe Drinking Water and Toxic
                      12   Enforcement Act of 1986, Cal. Health & Safety Code § 25249.5, et seq. No other
                      13   causes of actions allow this claim to proceed, and thus, there is no adequate remedy
                      14   at law for this specific violation of the UCL’s unlawful prong. Plaintiff’s UCL
                      15   unlawful prong claim does not rest on the same conduct as her other causes of
                      16   action, and there is no adequate remedy at law for this specific unlawful claim.
                      17         39.    Injunctive relief is a primary goal of this action. It is appropriate on
                      18   behalf of Plaintiff and members of the class because Defendant continues to omit
                      19   material facts about the Tampons. Injunctive relief is necessary to prevent
                      20   Defendant from continuing to engage in the unfair, fraudulent, and/or unlawful
                      21   conduct described herein and to prevent future harm—none of which can be
                      22   achieved through available legal remedies (such as monetary damages to
                      23   compensate past harm).
                      24         40.    Injunctive relief, in the form of affirmative disclosures or halting the
                      25   sale of unlawful sold Tampons is necessary to dispel the public misperception
                      26   about the Tampons that has resulted from years of Defendant’s unfair, fraudulent,
                      27   and unlawful marketing efforts. Such disclosures would include, but are not
                      28   limited to, publicly disseminated statements that the Tampons contain lead; and/or
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                                               FIRST AMENDED CLASS ACTION COMPLAINT
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                       1   requiring prominent qualifications and/or disclaimers on the Tampons’ front label
                       2   concerning the Tampons’ true nature.
                       3         41.    An injunction requiring affirmative disclosures to dispel the public’s
                       4   misperception, and prevent the ongoing deception and repeat purchases, is also not
                       5   available through a legal remedy (such as monetary damages). In addition,
                       6   Plaintiff is currently unable to accurately quantify the damages caused by
                       7   Defendant’s future harm, because discovery and Plaintiff’s investigation have not
                       8   yet completed, rendering injunctive relief necessary. Further, because a public
                       9   injunction is available under the UCL, and damages will not adequately benefit
                      10   the general public in a manner equivalent to an injunction.
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                      11         42.    It is premature to determine whether an adequate remedy at law
                      12   exists. This is an initial pleading and discovery has not yet commenced and/or is
                      13   at its initial stages. No class has been certified yet. No expert discovery has
                      14   commenced and/or completed. The completion of fact/non-expert and expert
                      15   discovery, as well as the certification of this case as a class action, are necessary
                      16   to finalize and determine the adequacy and availability of all remedies, including
                      17   legal and equitable, for Plaintiff’s individual claims and any certified class or
                      18   subclass. Plaintiff therefore reserves her right to amend this complaint and/or
                      19   assert additional facts that demonstrate this Court’s jurisdiction to order equitable
                      20   remedies where no adequate legal remedies are available for either Plaintiff and/or
                      21   any certified class or subclass. Such proof, to the extent necessary, will be
                      22   presented prior to the trial of any equitable claims for relief and/or the entry of an
                      23   order granting equitable relief.
                      24                             CLASS ACTION ALLEGATIONS
                      25         43.    Plaintiff brings this action as a class action pursuant to Federal Rules
                      26   of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of the following Class:
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                                               FIRST AMENDED CLASS ACTION COMPLAINT
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                       1         All persons who purchased the Tampons for personal use in California
                                 within the applicable statute of limitations until the date class notice is
                       2
                                 disseminated.
                       3
                       4         44.    Excluded from the class are: (i) Defendant and its officers, directors,

                       5   and employees; (ii) any person who files a valid and timely request for exclusion;

                       6   and (iii) judicial officers and their immediate family members and associated court

                       7   staff assigned to the case.

                       8         45.    Plaintiff reserves the right to amend or otherwise alter the class

                       9   definition presented to the Court at the appropriate time, or to propose or eliminate

                      10   sub-classes, in response to facts learned through discovery, legal arguments
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                      11   advanced by Defendant, or otherwise.

                      12         46.    The Class is appropriate for certification because Plaintiff can prove

                      13   the elements of the claims on a classwide basis using the same evidence as would

                      14   be used to prove those elements in individual actions alleging the same claims.

                      15         47.    Numerosity: Class Members are so numerous that joinder of all

                      16   members is impracticable. Plaintiff believes that there are thousands of consumers

                      17   who are Class Members described above who have been damaged by Defendant’s

                      18   deceptive and misleading practices.

                      19         48.    Commonality: There is a well-defined community of interest in the

                      20   common questions of law and fact affecting all Class Members. The questions of

                      21   law and fact common to the Class Members which predominate over any questions

                      22   which may affect individual Class Members include, but are not limited to:

                      23         a.     Whether Defendant is responsible for the conduct alleged herein

                      24   which was uniformly directed at all consumers who purchased the Tampons;

                      25         b.     Whether Defendant’s misconduct set forth in this Complaint

                      26   demonstrates that Defendant engaged in unfair, fraudulent, or unlawful business

                      27   practices with respect to the advertising, marketing, and sale of the Tampons;

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                       1         c.     Whether Defendant made material omissions concerning the
                       2   Tampons that were likely to deceive the public;
                       3         d.     Whether Plaintiff and the Class are entitled to injunctive relief;
                       4         e.     Whether Plaintiff and the Class are entitled to money damages and/or
                       5   restitution under the same causes of action as the other Class Members.
                       6         49.    Typicality: Plaintiff is a member of the Class that Plaintiff seeks to
                       7   represent. Plaintiff’s claims are typical of the claims of each Class Member in that
                       8   every member of the Class was susceptible to the same deceptive, misleading
                       9   conduct and purchased the Tampons. Plaintiff is entitled to relief under the same
                      10   causes of action as the other Class Members.
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                      11         50.    Adequacy: Plaintiff is an adequate Class representative because
                      12   Plaintiff’s interests do not conflict with the interests of the Class Members Plaintiff
                      13   seeks to represent; the consumer fraud claims are common to all other members of
                      14   the Class, and Plaintiff has a strong interest in vindicating the rights of the class;
                      15   Plaintiff has retained counsel competent and experienced in complex class action
                      16   litigation and Plaintiff intends to vigorously prosecute this action. Plaintiff has no
                      17   interests which conflict with those of the Class. The Class Members’ interests will
                      18   be fairly and adequately protected by Plaintiff and proposed Class Counsel.
                      19   Defendant has acted in a manner generally applicable to the Class, making relief
                      20   appropriate with respect to Plaintiff and the Class Members. The prosecution of
                      21   separate actions by individual Class Members would create a risk of inconsistent
                      22   and varying adjudications.
                      23         51.    The Class is properly brought and should be maintained as a class
                      24   action because a class action is superior to traditional litigation of this controversy.
                      25   A class action is superior to the other available methods for the fair and efficient
                      26   adjudication of this controversy because:
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                       1         a.        The joinder of hundreds of individual Class Members is
                       2   impracticable, cumbersome, unduly burdensome, and a waste of judicial and/or
                       3   litigation resources;
                       4         b.        The individual claims of the Class Members may be relatively modest
                       5   compared with the expense of litigating the claim, thereby making it impracticable,
                       6   unduly burdensome, and expensive to justify individual actions;
                       7         c.        When Defendant’s liability has been adjudicated, all Class Members’
                       8   claims can be determined by the Court and administered efficiently in a manner
                       9   far less burdensome and expensive than if it were attempted through filing,
                      10   discovery, and trial of all individual cases;
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                      11         d.        This class action will promote orderly, efficient, expeditious, and
                      12   appropriate adjudication and administration of Class claims;
                      13         e.        Plaintiff knows of no difficulty to be encountered in the management
                      14   of this action that would preclude its maintenance as a class action;
                      15         f.        This class action will assure uniformity of decisions among Class
                      16   Members;
                      17         g.        The Class is readily definable and prosecution of this action as a class
                      18   action will eliminate the possibility of repetitious litigation; and
                      19         h.        Class Members’ interests in individually controlling the prosecution
                      20   of separate actions is outweighed by their interest in efficient resolution by single
                      21   class action;
                      22         52.       Additionally or in the alternative, the Class also may be certified
                      23   because Defendant has acted or refused to act on grounds generally applicable to
                      24   the Class thereby making final declaratory and/or injunctive relief with respect to
                      25   the members of the Class as a whole, appropriate.
                      26         53.       Plaintiff seeks preliminary and permanent injunctive and equitable
                      27   relief on behalf of the Class, on grounds generally applicable to the Class, to enjoin
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                       1   and prevent Defendant from engaging in the acts described, and to require
                       2   Defendant to provide full restitution to Plaintiff and Class members.
                       3         54.    Unless the Class is certified, Defendant will retain monies that were
                       4   taken from Plaintiff and Class members as a result of Defendant’s wrongful
                       5   conduct. Unless a classwide injunction is issued, Defendant will continue to
                       6   commit the violations alleged and the members of the Class and the general public
                       7   will continue to be misled.
                       8                                 FIRST CLAIM FOR RELIEF
                       9               Violation of California’s Consumers Legal Remedies Act
                      10                             Cal. Civ. Code §§ 1750 et seq.
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                      11         55.    Plaintiff realleges and incorporates by reference all allegations
                      12   contained in this complaint, as though fully set forth herein.
                      13         56.    Plaintiff brings this claim under the CLRA individually and on behalf
                      14   of the Class against Defendant.
                      15         57.    At all times relevant hereto, Plaintiff and the members of the Class
                      16   were “consumer[s],” as defined in California Civil Code section 1761(d).
                      17         58.    At all relevant times, Defendant constituted a “person,” as defined in
                      18   California Civil Code section 1761(c).
                      19         59.    At all relevant times, the Tampons manufactured, marketed,
                      20   advertised, and sold by Defendant constituted “goods,” as defined in California
                      21   Civil Code section 1761(a).
                      22         60.    The purchases of the Tampons by Plaintiff and the members of the
                      23   Class were and are “transactions” within the meaning of California Civil Code
                      24   section 1761(e).
                      25         61.    Defendant disseminated, or caused to be disseminated, through their
                      26   advertising, false and misleading representations, including the Tampons’ labeling
                      27   that they do not contain hazardous substances such as lead. Defendant fails to
                      28   disclose that the Tampons contain high lead. This is a material omission as
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                       1   reasonable consumers would find the fact that the Tampons contain lead to be
                       2   important to their decision in purchasing the Tampons. Defendant’s
                       3   representations violate the CLRA in the following ways:
                       4         a)        Defendant represented that the Tampon have characteristics,
                       5   ingredients, uses, and benefits which they do not have (Cal. Civ. Code §
                       6   1770(a)(5));
                       7         b)        Defendant represented that the Tampon are of a particular standard,
                       8   quality, or grade, which they are not (Cal. Civ. Code § 1770(a)(7));
                       9         c)        Defendant advertised the Tampons with an intent not to sell the
                      10   Tampons as advertised (Cal. Civ. Code § 1770(a)(9)); and
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                      11         d)        Defendant represented that the subject of a transaction has been
                      12   supplied in accordance with a previous representation when it has not (Cal. Civ.
                      13   Code § 1770(a)(16)).
                      14         62.       Defendant violated the CLRA because the Tampons contain lead.
                      15   Defendant knew or should have known that consumers would want to know that
                      16   the Tampons contain lead. Defendant had a duty to disclose that the Tampons
                      17   contain lead.
                      18         63.       Based on the statutory text, legislative history (which includes the
                      19   National Consumer Act), the judicial decisions and statutes that existed when the
                      20   CLRA was enacted, the subsequent case law, and the many amendments to the
                      21   CLRA from 1975 through 2016, failures to disclose material facts are actionable
                      22   under the CLRA. In particular, subdivision (a)(5), (7), and (9) of Civil Code
                      23   section 1770 proscribe material omissions.
                      24         64.       Defendant’s labeling of the Tampons also created the net-impression
                      25   that the Tampons do not contain hazardous substances such as lead. Defendant had
                      26   exclusive knowledge of the material fact that the Tampons contain lead, and
                      27   Defendant failed to disclose this fact. Defendant actively concealed this material
                      28   fact. The fact that the Tampons contain lead is material to consumers because
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                       1   reasonable consumers would deem the existence of lead in a Tampon that they
                       2   place inside their body important in determining whether to buy the Tampons.
                       3         65.      Defendant’s actions as described herein were done with conscious
                       4   disregard of Plaintiff and the Class members’ rights and were wanton and
                       5   malicious.
                       6         66.      Defendant’s wrongful business practices constituted, and constitute,
                       7   a continuing course of conduct in violation of the CLRA, since Defendant is still
                       8   representing that the Tampons have characteristics which they do not have.
                       9         67.      Pursuant to California Civil Code section 1782(d), Plaintiff and the
                      10   members of the Class seek an order enjoining Defendant from engaging in the
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                      11   methods, acts, and practices alleged herein.
                      12         68.      Pursuant to California Civil Code section 1782, Defendant was
                      13   notified in writing by certified mail of the alleged violations of the CLRA and it
                      14   was demanded that Defendant rectify the problems associated with the actions
                      15   detailed above and give notice to all affected consumers of their intent to so act. If
                      16   Defendant fails to rectify or agree to rectify the problems associated with the
                      17   actions detailed herein and give notice to all affected consumers within 30 days of
                      18   the date of written notice pursuant to section 1782 of the CLRA, Plaintiff will
                      19   amend this complaint to seek actual, punitive, and statutory damages, as
                      20   appropriate.
                      21         69.      Pursuant to section 1780(d) of the CLRA, below is an affidavit
                      22   showing that this action was commenced in a proper forum.
                      23                               SECOND CLAIM FOR RELIEF
                      24                   Violation of California’s Unfair Competition Law
                      25                         Cal. Bus. & Prof. Code §§ 17200 et seq.
                      26         70.      Plaintiff realleges and incorporates by reference all allegations
                      27   contained in this complaint, as though fully set forth herein.
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                       1         71.    Plaintiff brings this claim under the UCL individually and on behalf
                       2   of the Class against Defendant.
                       3         72.    The UCL prohibits any “unlawful,” “fraudulent,” or “unfair” business
                       4   act or practice and any false or misleading advertising.
                       5         73.    Defendant committed “unlawful” business acts or practices by
                       6   making the representations and omitted material facts (which constitutes
                       7   advertising within the meaning of California Business & Professions Code section
                       8   17200), as set forth more fully herein, and violating California Civil Code sections
                       9   1573, 1709, 1711, 1770(a)(5), (7), (9) and (16), California Business & Professions
                      10   Code section 17500 et seq., California common law breach of implied warranties,
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                      11   and California’s Safe Drinking Water and Toxic Enforcement Act of 1986
                      12   (“Proposition 65”), Cal. Health & Safety Code § 25249.5, et seq. Plaintiff,
                      13   individually and on behalf of the other Class members, reserves the right to allege
                      14   other violations of law, which constitute other unlawful business acts or practices.
                      15   Such conduct is ongoing and continues to this date.
                      16         74.    California’s Proposition 65 establishes a Maximum Allowable Dose
                      17   Level (“MADL”) of .5 ug of lead per day for reproductive toxicity. See
                      18   https://oehha.ca.gov/proposition-65/chemicals/lead-and-lead-compounds.        Here,
                      19   the Tampons contain 0.206 ug/g lead. The Tampon fabric weighs approximately 4
                      20   grams. Thus, the Tampon contains approximately 0.824 ug of lead. On average,
                      21   users of the Tampons use 3 Tampons per day. Thus, a consumer would be exposed
                      22   to approximately 2.472 ug of lead per day. This exposure occurs within the body.
                      23         75.    Defendant committed “unfair” business acts or practices by: (1)
                      24   engaging in conduct where the utility of such conduct is outweighed by the harm
                      25   to Plaintiff and the members of the a Class; (2) engaging in conduct that is
                      26   immoral, unethical, oppressive, unscrupulous, or substantially injurious to
                      27   Plaintiff and the members of the Class; and (3) engaging in conduct that
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                       1   undermines or violates the intent of the consumer protection laws alleged herein.
                       2   There is no societal benefit from deceptive advertising.
                       3           76.    Plaintiff and the other Class members paid for a Tampon that is not
                       4   as advertised by Defendant. Further, Defendant failed to disclose a material fact
                       5   (that the Tampons contain lead) of which it had exclusive knowledge. While
                       6   Plaintiff and the other Class members were harmed, Defendant was unjustly
                       7   enriched by its false misrepresentations and material omissions. As a result,
                       8   Defendant’s conduct is “unfair,” as it offended an established public policy. There
                       9   were reasonably available alternatives to further Defendant’s legitimate business
                      10   interests, other than the conduct described herein. For example, Defendant’s
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                      11   competitors do not sell tampons that contain lead.
                      12           77.    Defendant committed “fraudulent” business acts or practices by
                      13   making the representations of material fact regarding the Tampons set forth herein.
                      14   Defendant’s business practices as alleged are “fraudulent” under the UCL because
                      15   they are likely to deceive customers into believing the Tampons do not contain
                      16   lead.
                      17           78.    Plaintiff and the other members of the Class have in fact been
                      18   deceived as a result of their reliance on Defendant’s material representations and
                      19   omissions. This reliance has caused harm to Plaintiff and the other members of the
                      20   Class, each of whom purchased Defendant’s Tampons. Plaintiff and the other
                      21   Class members have suffered injury in fact and lost money as a result of purchasing
                      22   the Tampon and Defendant’s unlawful, unfair, and fraudulent practices.
                      23           79.    Defendant’s wrongful business practices and violations of the UCL
                      24   are ongoing.
                      25           80.    Plaintiff and the Class seek pre-judgment interest as a direct and
                      26   proximate result of Defendant’s unfair and fraudulent business conduct. The
                      27   amount on which interest is to be calculated is a sum certain and capable of
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                       1   calculation, and Plaintiff and the Class seek interest in an amount according to
                       2   proof.
                       3            81.   Unless restrained and enjoined, Defendant will continue to engage in
                       4   the above-described conduct. Accordingly, injunctive relief is appropriate.
                       5            82.   Pursuant to California Business & Professions Code section 17203,
                       6   Plaintiff, individually and on behalf of the Class, seek (1) restitution from
                       7   Defendant of all money obtained from Plaintiff and the other Class members as a
                       8   result of unfair competition; (2) an injunction prohibiting Defendant from
                       9   continuing such practices that do not comply with the law; and (3) all other relief
                      10   this Court deems appropriate, consistent with California Business & Professions
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                      11   Code section 17203.
                      12                                THIRD CLAIM FOR RELIEF
                      13                              Breach of Implied Warranties
                      14            83.   Plaintiff realleges and incorporates by reference all allegations
                      15   contained in this complaint, as though fully set forth herein.
                      16            84.   Plaintiff brings this claim individually and on behalf of the Class
                      17   against Defendant.
                      18            85.   Defendant was at all relevant times the manufacturer, distributor,
                      19   and/or warrantor of the Tampons. Defendant knew or had reason to know of the
                      20   specific use for which its Tampons were purchased.
                      21            86.   Defendant, through the acts and omissions set forth herein, in the sale,
                      22   marketing, and promotion of the Tampons made implied representations to
                      23   Plaintiff and the Class that the Tampons were fit for the particular purpose of use
                      24   inside the body. However, the Tampons are hazardous to use.
                      25            87.   Further, Defendant cannot legally sell the Tampon in California
                      26   without a Proposition 65 disclosure on the labels, and thus, by definition they are
                      27   not fit for the particular purpose of use inside the body.
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                       1         88.    At the time the Tampons were sold, Defendant knew or should have
                       2   known that Plaintiff and members of the Class would rely on Defendant’s skill and
                       3   judgment regarding the safety and composition of the Tampons. Because the
                       4   Tampons contain lead, they are not of the same quality as those generally accepted
                       5   in the trade and were not fit for the ordinary purposes for which the Tampons are
                       6   used (i.e., to be placed inside the body).
                       7         89.    By advertising and selling the Tampons at issue, Defendant, a
                       8   merchant of goods, made promises and affirmations of fact that the Tampons are
                       9   merchantable and conform to the promises or affirmations of fact made on the
                      10   Tampon’s packaging and labeling, and through its marketing and advertising, as
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                      11   described herein. This labeling and advertising, combined with the implied
                      12   warranty of merchantability, constitute warranties that became part of the basis of
                      13   the bargain between Plaintiff and members of the Class and Defendant.
                      14         90.    Defendant’s labeling and advertising, combined with the implied
                      15   warranty of merchantability, constitute a warranty that the Tampons do not contain
                      16   hazardous substances such as lead.
                      17         91.    In reliance on Defendant’s skill and judgment and the implied
                      18   warranties of fitness for this purpose and merchantability, Plaintiff and members
                      19   of the Class purchased the Tampon to place inside their body. Defendant knew that
                      20   the Tampons would be purchased and used without further testing by Plaintiff and
                      21   Class members.
                      22         92.    Consumers are the intended beneficiaries of the implied warranty as
                      23   they are the ones Defendant made the Tampons for and specifically marketed the
                      24   Tampons to consumers. Defendant breached the implied warranty of
                      25   merchantability. Because the Tampons contain lead, they are not fit for ordinary
                      26   use (i.e., use inside the body).
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                       1         93.    As a direct and proximate result of Defendant’s breach of warranty,
                       2   Plaintiff and members of the Class were harmed in the amount of the purchase
                       3   price they paid for the Tampons.
                       4         94.    Further, Plaintiff and members of the Class have suffered and
                       5   continue to suffer economic losses and other damages including, but not limited
                       6   to, the amounts paid for the Tampon, and any interest that would have accrued on
                       7   those monies, in an amount to be proven at trial. Accordingly, Plaintiff seeks a
                       8   monetary award for breach of warranty in the form of damages, restitution, and/or
                       9   disgorgement of ill-gotten gains to compensate Plaintiff and the Class for the loss
                      10   of that money, as well as injunctive relief to enjoin Defendant’s misconduct to
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                      11   prevent ongoing and future harm that will result.
                      12         95.    Plaintiff seeks punitive damages pursuant to this cause of action for
                      13   breach of warranty on behalf of Plaintiff and the Class. Defendant’s unfair,
                      14   fraudulent, and unlawful conduct described herein constitutes malicious,
                      15   oppressive, and/or fraudulent conduct warranting an award of punitive damages as
                      16   permitted by law. Defendant’s misconduct is malicious as Defendant acted with
                      17   the intent to cause Plaintiff and consumers to pay for Tampons that they were not,
                      18   in fact, receiving. Defendant willfully and knowingly disregarded the rights of
                      19   Plaintiff and consumers as Defendant was aware of the probable dangerous
                      20   consequences of its conduct and deliberately failed to avoid misleading
                      21   consumers, including Plaintiff. Defendant’s misconduct is oppressive. Reasonable
                      22   consumers would look down upon it and/or otherwise would despise such
                      23   misconduct. This misconduct subjected Plaintiff and consumers to cruel and unjust
                      24   hardship in knowing disregard of their rights. Defendant’s misconduct is
                      25   fraudulent as Defendant, at all relevant times, intentionally misrepresented and/or
                      26   concealed material facts with the intent to deceive Plaintiff and consumers. The
                      27   wrongful conduct constituting malice, oppression, and/or fraud was committed,
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                       1   authorized, adopted, approved, and/or ratified by officers, directors, and/or
                       2   managing agents of Defendant.
                       3                                  REQUEST FOR RELIEF
                       4          Plaintiff, individually, and on behalf of all others similarly situated, requests
                       5   for relief pursuant to each claim set forth in this complaint, as follows:
                       6          a.    Declaring that this action is a proper class action, certifying the Class
                       7   as requested herein, designating Plaintiff as the Class Representative and
                       8   appointing the undersigned counsel as Class Counsel;
                       9          b.    Ordering restitution and disgorgement of all profits and unjust
                      10   enrichment that Defendant obtained from Plaintiff and the Class members as a
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                      11   result of Defendant’s unlawful, unfair, and fraudulent business practices;
                      12          c.    Ordering injunctive relief as permitted by law or equity, including
                      13   enjoining Defendant from continuing the unlawful practices as set forth herein;
                      14          d.    Ordering damages for Plaintiff and the Class;
                      15          e.    Ordering Defendant to pay attorneys’ fees and litigation costs to
                      16   Plaintiff and the other members of the Class;
                      17          f.    Ordering Defendant to pay both pre- and post-judgment interest on
                      18   any amounts awarded; and
                      19          g.    Ordering such other and further relief as may be just and proper.
                      20                                      JURY DEMAND
                      21          Plaintiff hereby demands a trial by jury of all claims in this Complaint so
                      22   triable.
                      23
                            Dated: August 21, 2024                   CROSNER LEGAL, P.C.
                      24
                      25                                             By:      /s/ Michael T. Houchin
                                                                             MICHAEL T. HOUCHIN
                      26
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                       1                          Civil Code Section 1780(d) Affidavit
                       2         I am an attorney duly licensed to practice before all of the courts of the State
                       3   of California. I am one of the counsel of record for Plaintiff. This declaration is
                       4   made pursuant to § 1780(d) of the California Consumers Legal Remedies Act.
                       5   Defendant has done, and is doing, business in California, including in this district.
                       6   I declare under penalty of perjury under the laws of the State of California that the
                       7   foregoing is true and correct.
                       8         Executed August 21, 2024 at San Diego, California.
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                                                                   By:       /s/ Michael T. Houchin
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